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    Counsel for the Committee of
    Creditors Holding Unsecured Claims

                             UNITED STATES BANKRUPTCY COURT
                              CENTRAL DISTRICT OF CALIFORNIA
                                   LOS ANGELES DIVISION

     In re:                                          Case No. 2:22-bk-10994-BB

     BETTER 4 YOU BREAKFAST, INC.,                   Chapter 11

                       Debtor.                       COMMITTEE’S REPLY TO
                                                     PURCHASER’S OBJECTION TO
                                                     MOTION TO COMPEL
                                                     PERFORMANCE

                                                     Hearing:
                                                     Date: December 7, 2022
                                                     Time: 10:00 a.m.
                                                     Courtroom: 1539

                                                     255 East Temple Street
                                                     Los Angeles, CA 90012

                                                     Zoom Meeting: 161 6109 0855
                                                     Zoom Password: 148508

1             COMES NOW the Committee of Creditors Holding Unsecured Claims (“Committee”) of

2   Better 4 You Breakfast, Inc. (“Debtor”) to hereby reply to the Objection of Purchaser to

3   Committee’s Motion to Compel Purchaser to Perform Terms of Asset Purchase Agreement and
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 1   Pay Its Assumed Trade Payables [Doc. 622] (“Objection”) filed by Revolution Foods, PBC

 2   (“Purchaser”): 1

 3                                                I.   ARGUMENT

 4           The Committee brought the Motion to Compel (a) on behalf of all unsecured creditors,

 5   since they are collectively detrimented by the Debtor’s failure to insist on performance by

 6   RevFoods of the terms of the APA; and (b) in place of the Debtor, which is in a conflict situation

 7   because its insiders stand to benefit from paying less to trade creditors. The insiders of the

 8   Debtor, who are now insiders of RevFoods, are acting in contravention of the court-approved

 9   Sale Order. The Sale Order approved the APA, which explicitly contemplated that the Assumed

10   Trade Payables would be paid by RevFoods. The same individuals who chose to reorganize the

11   Debtor through bankruptcy are now also trying to avoid the consequence of having a committee

12   to protect the interests of its creditors.

13       A. The Motion Is in the Interest of the Unsecured Creditor Body as a Whole

14           The definition of “Assumed Trade Payables” in the APA is virtually coextensive with the

15   body of allowed unsecured claims in this Case. The only exception would be the class claim filed

16   by Committee member Veronica Ortiz, but that claim was disputed, was not assumed, and is in

17   all likelihood about to be settled. Almost all of the other unsecured claims are for trade payables.

18           RevFoods argues that the relief sought in the Motion should have been brought as an

19   adversary proceeding under FRBP 7001(1) or (9) – a proceeding to recover money, or a

20   proceeding to obtain declaratory judgment relating to the recovery of money – and that “[a]n

21   action for breach of contract constitutes an adversary proceeding.” (quoting In re Harry C.



     1
      Capitalized terms not otherwise defined herein shall have the meaning given to them in the
     Committee’s Motion to Compel Purchaser to Perform Terms of Asset Purchase Agreement and
     Pay Its Assumed Trade Payables [Doc. 613] (“Motion”).
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 1   Partridge Jr. & Sons, Inc., 43 B.R. 669, 672 (Bankr. S.D.N.Y. 1984)). However, the

 2   Committee’s Motion seeks neither to recover money for the estate, nor alleges breach of

 3   contract. Through the Motion, the Committee wishes to compel Purchaser to perform by paying

 4   its Assumed Trade Payables so that the case can proceed with the confirmation of a plan of

 5   reorganization.

 6          Unsecured creditors are currently in a grey area between the APA and Chapter 11 Plan,

 7   whereby they stand to have their claims objected to by the Debtor while being unsure of their

 8   ability to recover from the Purchaser. The Debtor has stated its intentions to object to claims that

 9   were assumed by Purchaser on the grounds of them having been paid. Yet, to date, there has

10   been no reporting on which claims have been paid by the Purchaser, and the Committee has been

11   unable to obtain that information from the Purchaser or Debtor.

12      B. The Committee Acts for Unsecured Creditors Where the Debtor Will Not

13          The Committee stands as a fiduciary body for all unsecured creditors. A creditors'

14   committee has a duty to take action when the debtor fails to take appropriate action for the

15   benefit of the estate. In re First Capital Holdings Corp., 146 B.R. 7, 11 (Bankr. C.D. Cal. 1992).

16   Payment of the Assumed Trade Payables by the Purchaser is integral to the reorganization

17   contemplated by the Debtor. Resolution of doubts that it will do so is essential to confirmation of

18   the Debtor’s Plan. Over 4 months have now passed since the APA has closed, in an industry

19   where it would be highly unusual to have payment terms of even over 30 days. Clearly, the

20   Purchaser is not paying trade payables according to their ordinary terms as contemplated by the

21   APA.

22          In addition, neither the California Code nor the APA require allegations of breach to seek

23   an order to enforce its provisions. The California Code states that a “contract, made expressly for
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 1   the benefit of a third person, may be enforced by him at any time before the parties thereto

 2   rescind it.” Cal. Civ. Code § 1559. The APA gives this Court “exclusive jurisdiction to resolve

 3   any controversy or claim arising out of or relating to this Agreement or the implementation or

 4   breach [t]hereof.” Sale Notice, p. 75 (APA p. 65, Section 9.8).

 5          The Committee is acting for the estate in place of the Debtor, which has not moved to

 6   enforce the contract as it should because of a conflict of interest with its insiders. The insiders of

 7   the Debtor stand to recover from any surplus to the estate after paying its creditors. Therefore,

 8   they stand to personally benefit from any effort to pay less to unsecured creditors. The Debtor

 9   principals are breaching their fiduciary duties to creditors by not enforcing the APA.

10      C. Purchaser Assumed “Payables” of Debtor, Including Obligation to Pay Interest.

11          The APA assigns the “Assumed Trade Payables” on the same terms as they were held by

12   the Debtor, only the Purchaser is not in bankruptcy. That means that they are subject to the same

13   trade terms as existed before the Debtor filed its bankruptcy petition, which in many instances

14   include interest for late payment.

15      D. Purchaser’s “Settlement” Offers Are Bad Faith Attempts to Avoid “Payables”

16          The offers to pay less than what is owed constitutes bad faith by the Purchaser to avoid

17   liabilities it voluntarily undertook to pay with knowledge and foresight while negotiating the

18   APA. The Debtor will only be absolved of its responsibility to pay creditors to the degree that the

19   Purchaser actually pays those claims. It stands to reason that the more liabilities the Purchaser

20   agreed to assume, the more would have been deducted from the purchase price during

21   negotiations. Therefore, to agree to assume liabilities of the Debtor while then endeavoring not to

22   pay them after the fact shows bad faith. Debtor insiders, who are now also insiders of RevFoods,

23   benefit from having fewer resources go to pay the Debtor’s trade creditors.
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1      E. Declarations by Creditors Relate to Personal Knowledge

2          The declarations of Committee members submitted with the Motion are offered only as

3   evidence of the first-hand experience of each of those Committee members. It would be

4   impractical to seek declarations from every creditor that has not been paid by the Purchaser and

5   would be ludicrous to insist that the Committee do so in order to able to bring the Motion. The

6   Committee merely wished to establish that there was a pattern of behavior by the Purchaser and

7   the Debtor’s insiders, and that instances of non-payment were not isolated incidents.

8          WHEREFORE the Committee requests that the Purchaser’s Objection be overruled.


    Respectfully submitted this 30th day of November, 2022.

                                                     s/ Daren Brinkman
                                                     Daren R. Brinkman (SBN 158698)
                                                     BRINKMAN LAW GROUP, PC
                                                     543 Country Club Drive, Suite B
                                                     Wood Ranch, CA 93065
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     Counsel for the Committee of
     Creditors Holding Unsecured Claims

                               UNITED STATES BANKRUPTCY COURT
                                CENTRAL DISTRICT OF CALIFORNIA
                                     LOS ANGELES DIVISION

      In re:                                             Case No. 2:22-bk-10994-BB

      BETTER 4 YOU BREAKFAST, INC.,                      Chapter 11

                         Debtor.                         DECLARATION OF DAREN
                                                         BRINKMAN IN SUPPORT OF
                                                         COMMITTEE’S REPLY TO
                                                         PURCHASER’S OBJECTION TO
                                                         MOTION TO COMPEL
                                                         PERFORMANCE
 1

 2             I, Daren Brinkman, am over the age of eighteen, of sound mind, and declare as follows:

 3             1.     I am a shareholder of the Brinkman Law Group, PC (“Counsel”), which serves as

 4   counsel to the Committee of Creditors Holding Unsecured Claims (“Committee”).

 5             2.     I submit this declaration in support of the attached Committee’s Reply to

 6   Purchaser’s Objection to Motion to Compel Performance (“Reply”).

 7             3.     Prior to deadline for filing the Purchaser’s response, I had a phone conversation

 8   with counsel for the Purchaser.

 9             4.     During the telephone conversation, Purchaser, through counsel, offered to pay

10   Committee members’ claims with interest, in an effort to get the Committee to withdraw its

11   Motion to Compel.
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1          5.      On this day, November 30, 2022, the Committee sent a demand letter to Debtor

2   requesting that it bring an action to enforce the terms of the APA or otherwise stipulate to give

3   the Committee standing to bring an adversary proceeding on behalf of the estate.

4          6.      I have personal knowledge of the facts contained in this declaration and would

5   and could testify to them if called upon to do so.

6   I declare under penalty of perjury that the above is true and correct to the best of my knowledge.


    Executed this 30th day of November 2022 at Wood Ranch, California.



                                                         ____________________________
                                                         Daren R. Brinkman (SBN 158698)
                                                         BRINKMAN LAW GROUP, PC
                                                         543 Country Club Drive, Suite B
                                                         Wood Ranch, CA 93065
                                                         Telephone: (818) 597-2992
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                                                         Creditors Holding Unsecured Claims
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
515 Madison Ave., 9th Fl.
New York, NY 10022
                                                                      COMMITTEE'S REPLY TO PURCHASER'S
A true and correct copy of the foregoing document entitled (specify): __________________________________________
 OBJECTION TO MOTION TO COMPEL PERFORMANCE
________________________________________________________________________________________________
________________________________________________________________________________________________
________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_______________,
11/30/2022          I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
  See attached.




                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _______________,
              11/30/2022        I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.
   See attached.




                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

11/30/2022         Jory Cook
 Date                           Printed Name                                                    Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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                                    Electronic Mail Notice List

        The following is the list of parties who are currently on the list to receive email
notice/service for this case:

Shraddha Bharatia          notices@becket-lee.com
Mason S Byrd               sbyrd@mckoolsmithhennigan.com;
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                           storm-byrd-1750@ecf.pacerpro.com
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                                      Manual Notice List

       I served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows:

Aetna Life Insurance Company and Affiliated Entities
c/o Payam Khodadadi, Esq.
MCGUIREWOODS LLP
1800 Century Park East, 8th Floor
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Argo Partners
12 West 37th Street, 9th Floor
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